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                Exhibit A
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            SETTLEMENT AGREEMENT AND RELEASE OF CLAIMS

       This Settlement Agreement and Release of Claims (the “Agreement” or
“Settlement Agreement”) is entered into by and between Quincy Bioscience Holding
Company, Inc. (“Defendant”) and Jeremy Gusloff (“Plaintiff”), Drew Haack and Cole
Jordan (“Opt-in Plaintiffs”) in relation to the case of Gusloff v. Quincy Bioscience
Holding Company, Inc., Case No. 21-cv-662-wmc, filed in the United States Court for
the Western District of Wisconsin (the “Lawsuit”), (Plaintiff, Opt-in Plaintiffs, and
Defendant each a “Party” and collectively the “Parties”).

                                    RECITALS

      WHEREAS, the Plaintiff filed the Lawsuit under the Fair Labor Standards Act
(“FLSA”), 29 U.S.C. § 201, et seq., and under Wisconsin wage-and-hour law as a
putative collective and class action to recover alleged unpaid compensation and
overtime wages against Defendants on October 19, 2021 (Dkt. No. 1); and

     WHEREAS, the Plaintiff is represented in the Lawsuit by the law firm of
Hawks Quindel, S.C. (“Plaintiff’s Counsel”); and

       WHEREAS, 2 additional individuals filed consent forms to join the putative
collective class (the Opt-in Plaintiffs) (Dkt. Nos. 1.1, 11 and 12); and

      WHEREAS, the collective FLSA class has not been conditionally certified by
the Court; and

      WHEREAS, counsel for the Parties have exchanged settlement offers and, by
and through arm’s-length negotiations, reached a settlement of this matter as to the
Plaintiff and Opt-in Plaintiffs; and

      WHEREAS, Defendant denies all of the allegations in the Lawsuit and any
and all liability and damages of any kind to anyone with respect to the alleged facts
or causes of action asserted in the Lawsuit but, nonetheless, without admitting or
conceding any liability or damages whatsoever; and

       WHEREAS, the Parties have agreed to settle the Lawsuit on the terms and
conditions set forth in the Settlement Agreement to avoid the burden, expense, and
uncertainty of continuing the Lawsuit; and

      WHEREAS, the Parties recognize that the outcome of the Lawsuit is uncertain
and that achieving a final result through the litigation process would require
substantial additional risk, discovery, time and expense; and




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       WHEREAS, the Plaintiff and Plaintiff’s Counsel have conducted an
investigation and evaluation of the facts and law relating to the claims asserted in
the Lawsuit and believe, in view of the costs, risks, and delay of continued litigation
balanced against the benefits of settlement, that the settlement as provided in the
Settlement Agreement is in the best interest of the Plaintiff and Opt-in Plaintiffs and
that the settlement provided in the Settlement Agreement represents a fair,
reasonable, and adequate resolution of the Lawsuit;

       NOW THEREFORE, the Parties, intending to be legally bound and in
consideration of the mutual covenants and other good and valuable consideration set
forth below, do hereby agree as follows:

      1.      Settlement. It is agreed by and among the Parties that this Lawsuit,
and any claims, damages, or causes of action arising out of or related to the dispute
which is the subject of said Lawsuit, be settled and compromised as between the
Plaintiff and Opt-in Plaintiffs and Defendant, subject to Court approval and pursuant
to the terms and conditions set forth in the Settlement Agreement.

       2.      Attorneys’ Fees and Costs. Plaintiff’s Counsel will apply for an award
of actual attorneys’ fees and costs, to be approved by the Court, not to exceed the sum
of Seven Thousand Dollars ($7,000.00) (“Attorney’s Fees”). Defendant does not oppose
such application.

       3.     Allocation to Plaintiff and Opt-in Plaintiffs. The Plaintiff and Opt-in
Plaintiffs shall be allocated the amounts described below. Individual claim values
have been calculated for the Plaintiff and Opt-in Plaintiffs using the following
method: First, Defendant conducted an internal audit to determine the amount paid
to the Putative Collective Members, including the Plaintiff and Opt-in Plaintiffs, each
week worked during the three-year statute of limitations period preceding the filing
of this Lawsuit. The regular rate of pay was determined by allocating commissions
earned to the particular workweek and adding commissions to the hourly wages
earned. Next, total regular hour wages earned per workweek were divided by the
total hours worked per workweek to determine the regular rate of pay, and this
regular rate of pay was multiplied by 50% to determine the overtime premium for
each hour worked in excess of 40, if any. The total hours worked in excess of 40 each
workweek, if any, were then multiplied by that workweek’s overtime premium to
determine the overtime wages due per workweek, if any. The alleged overtime claim
value for Plaintiff and Opt-In Plaintiffs was then increased by 100% to account for
liquidated damages under the FLSA, and an additional sum was then added to secure
a global release of claims from Plaintiff and Opt-In Plaintiffs. This process led to the
following individual settlement amounts:




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                          Jeremy Gusloff         Drew Haack         Cole Jordan
           Audit Wages         $1,642.72             $2,383.18             $288.46

           Additional            $1,857.28                $0.00               $0.00
           Damages

        Liquidated               $1,642.72           $2,383.18              $288.46
         Damages
     Global Release of           $3,357.28           $1,866.82            $3,961.54
          Claims

             TOTAL               $8,500.00           $6,633.18            $4,538.46

      The Parties specifically understand that some of the payments described in the
preceding table have already been paid by Quincy Bioscience to the Plaintiff and Opt-
In Plaintiffs. Any additional amount paid by Quincy Bioscience to the Plaintiff and
Opt-in Plaintiffs in the Settlement Agreement shall represent full payment of any
wages and liquidated damages that could have been claimed through this Lawsuit,
plus an additional amount to secure a full release of claims.

       4.    Settlement Approval Process. Plaintiff’s Counsel shall present the
Settlement Agreement to the Court along with a joint motion requesting that the
Court issue an order approving the Settlement Agreement as fair, reasonable, and
adequate and dismissing the Lawsuit with prejudice. Should the Court require
additional briefing in order to grant approval of the Settlement Agreement, the
Parties shall work cooperatively together to conclude settlement of the Lawsuit.

       If the Settlement Agreement is fully approved by the Court, a final Order
approving settlement and directing the entry of judgment pursuant to Federal Rule
of Civil Procedure 41(a)(2) shall be entered (i) approving the Settlement Agreement
as fair, reasonable, and adequate; (ii) dismissing with prejudice the Pending Lawsuit;
and (iii) indicating the amount of attorneys’ fees and expenses to be paid to Plaintiff’s
Counsel.

       5.      Release. Upon the Court entering an Order approving settlement,
Plaintiff and Opt-in Plaintiffs shall be deemed to have released all of the following
(collectively the “Released Claims”):

The Plaintiff and Opt-in Plaintiffs on behalf of themselves, their heirs, their personal
representatives, successors and assigns, hereby irrevocably and unconditionally
release and discharge fully and forever Quincy Bioscience, and any of its
predecessors, successors, assigns, representatives, parents, subsidiaries, divisions,
affiliates and all related companies, and their present and former officers, agents,
directors, supervisors, attorneys, employees, owners and each and any one of them


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and their heirs, executors, administrators, successors and assigns, and all persons
acting by, through, under or in concert with any of them (hereinafter referred to
collectively as "Releasees"), from any and all claims, demands and causes of action,
whether presently known or unknown, which they had, now have, or may have
against the Releasees, or any of them, for or by reason of any transaction, matter,
cause or things whatsoever prior to the date of this Agreement, with respect to, or
arising out of, their employment with Quincy Bioscience or the cessation thereof, and
they further release and waive any claim or right to further compensation of any kind
or attorneys' fees or costs from Quincy Bioscience or any of the Releasees, except as
specifically provided in this Agreement.
The Plaintiff and Opt-in Plaintiffs fully understand that this release and the Released
Claims specifically include, but are not limited to (a) any and all claims brought or
which could have been brought in the Pending Litigation; (b) all claims relating to
their employment with Quincy Bioscience and the cessation of that employment;
(c) any claims related, directly or indirectly, to their employment with Quincy
Bioscience whether based in tort, express or implied contract, or any federal, state or
local law, statute or regulation, specifically including, but not limited to, any claim,
demand or cause of action arising out of the Fair Labor Standards Act, the Equal Pay
Act, the Ledbetter Fair Pay Act, Title VII of the Civil Rights Act of 1964, the Civil
Rights Act of 1991, the Civil Rights Act of 1986, the Employee Retirement Income
Security Act (ERISA), the Americans with Disabilities Act, the Occupational Safety
& Health Act, the National Labor Relations Act, the Labor Management Relations
Act, the Wisconsin Fair Employment Act, Wis. Stats. § 103.455 and Chapter 109 of
the Wisconsin Statutes, each as they may have been amended, and any other state
or federal statute, law, rule, regulation or ordinance covering an employment
relationship or restricting Quincy Bioscience’s rights to terminate employees, and (d)
all claims for breach of employment contract, wrongful discharge, and in addition,
from any claims, demands or actions brought on the basis of personal injury, alleged
wrongful discharge, breach of contract, misrepresentation, defamation, interference
with contract or intentional or negligent infliction of emotional distress under the
common law of any state. It is the intention of the Parties in executing this
Agreement, that the release contained herein shall be effective as a bar to each and
every claim described above, and shall cover claims known and unknown to the
Plaintiff and Opt-in Plaintiffs as of the effective date of this Agreement. This Release
does not apply to claims that may arise after the execution of this Agreement, claims
for breach of this Agreement, or claims that may not be released under applicable
law, such as rights to any accrued benefits under Quincy Bioscience retirement
benefit plans.
      6.      No Other Pay or Benefits. Except as otherwise expressly provided in this
Agreement, the Plaintiff and Opt-in Plaintiffs acknowledge that they are not entitled
to any other wages, salary, vacation pay, bonuses, incentive awards, commissions,
benefits or compensation of any kind. The Plaintiff and Opt-in Plaintiffs understand,
acknowledge and agree that upon receipt of the consideration discussed in Section 3,


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they have been fully compensated for all work performed for Quincy Bioscience and
that they will not make any claims against Quincy Bioscience for any further type of
compensation or remuneration of any kind.

       7.     Future Employment. The Plaintiff and Opt-in Plaintiffs agree that, by
virtue of this Agreement, they are not entitled to, and will not knowingly seek or
accept, reinstatement or reemployment by Quincy Bioscience and will not be
reemployed by Quincy Bioscience from this time on and at any time into the future,
and will not be eligible for and hereby waive any damages or relief of any kind if not
reinstated or reemployed by Quincy Bioscience in the event they breach this
provision. To the extent the Plaintiff and Opt-in Plaintiffs are awarded any such
damages or relief, they hereby assign such award to Quincy Bioscience.

       8.     Non-Admission. It is understood and agreed that this is a compromise
settlement of disputed claims and that nothing contained in the Settlement
Agreement or the decision to enter into this Agreement shall be deemed or construed
at any time or for any purpose as an admission of liability by Quincy Bioscience.
Liability for any and all claim for relief is expressly denied by Quincy Bioscience.

       9.     Non-Disparagement. Plaintiff and Opt-in Plaintiffs agree they will not
directly or indirectly make any statements or remarks, written or verbal, or post on
any Internet or social media site, or cause or encourage others to make any
statements, written or verbal, which defame, disparage, criticize or have the potential
of harming Quincy Bioscience and/or its successors, and its respective agents,
servants, officers, directors and employees and their reputations. Anthony Kern and
the immediate supervisors of Plaintiff and Opt-in Plaintiffs will not make any
statements or remarks, written or verbal, or post on any Internet or social media site,
or encourage others to make any statements, written or verbal, which defame,
disparage, criticize or have the potential of harming the Plaintiff and Opt-in
Plaintiffs. So long as the Plaintiff and Opt-in Plaintiffs direct employment inquiries
from prospective employers to Anthony Kern, Quincy Bioscience agrees to respond by
providing dates of employment and last job title held with Quincy Bioscience.
Notwithstanding the foregoing, nothing in this Agreement shall prohibit either Party
from making truthful statements or disclosures that are required by applicable law,
regulation or legal process or in requesting or receiving confidential legal advice.

           10.   Settlement Administration.

             a.     Allocations.  Individual settlement allocations have been
calculated pursuant to the procedure described in Section 3 and in the amounts set
forth in Section 3. The amounts allocated to the Plaintiff and Opt-in Plaintiffs in
Section 3 as “Audit Wages,” “Additional Damages” and “Global Release of Claims”
shall, to the extent not already paid, be paid subject to applicable employment




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withholding as W-2 income, and the amounts allocated to the Plaintiff and Opt-in
Plaintiffs as “Liquidated Damages” shall be paid as 1099 income.

             b.      Funding of the Settlement and Payment of Attorneys’ Fees and
Tax Treatment. Within 10 days of the Court entering its order approving the
Settlement Agreement, Defendant shall transfer checks representing Liquidated
Damages, Global Release of Claims and Attorney’s Fees to Plaintiff’s Counsel. In due
course, Defendant will issue (i) Plaintiff’s counsel an IRS Form 1099 representing the
Attorney’s Fees, (ii) the Plaintiff and Opt-in Plaintiffs IRS Forms 1099 representing
payment for Liquidated Damages, and (iii) the Plaintiff and Opt-in Plaintiffs IRS
Forms W-2 representing payment for Global Releases of Claims. Plaintiff’s Counsel
will mail checks to Plaintiff and Opt-in Plaintiffs no later than 14 days from receipt
of the checks from Defendant.

       11.    Confidentiality. This Agreement is confidential, and confidentiality is a
material term of this Agreement. Each Plaintiff and Opt-in Plaintiff represents that
he will not disclose (and has not disclosed) the terms, amount, or existence of this
Agreement to anyone other than to the Court; his spouse, partner, and parents; or
his legal, financial, and tax advisors (collectively Excepted Persons). Each Plaintiff
and Opt-in Plaintiff further represents that before disclosing any information about
this Agreement to any Excepted Person, he will inform that Excepted Person that
this Agreement is confidential and will obtain that Excepted Person’s agreement to
maintain the confidentiality of this Agreement. Any Excepted Person’s violation of
this confidentiality requirement is to be treated as a violation by such Plaintiff or
Opt-In Plaintiffs as the case may be. In any future response to an inquiry about the
Lawsuit, each Plaintiff and Opt-In Plaintiff shall say only that “The case has been
closed” and make no further comment or otherwise indicate, directly or indirectly,
any further information about the Lawsuit or this Agreement.

       12.    No Prevailing Party Designation. The Parties agree that this Agreement
shall not be construed to render the Plaintiff or Opt-in Plaintiffs as a “prevailing
party” within the meaning of Title VII of the Civil Rights Act of 1964, the Age
Discrimination in Employment Act, the Civil Rights Act of 1991, the Rehabilitation
Act, the Fair Labor Standards Act, the Employee Retirement Income Security Act of
1974 (ERISA), the Wisconsin Fair Employment Act or any other laws of the State of
Wisconsin or under federal law, each as they have been amended, or under any law,
statute or ordinance allowing attorneys’ fees and/or costs to a party who “prevails” in
any manner or sense, nor shall this Agreement be deemed to constitute a factor
supporting an award of attorneys’ fees and/or costs under any law, statute or
ordinance. Except as expressly provided herein, the Parties are responsible for their
own attorneys’ fees and costs in connection with the presentation and resolution of
their disputes, including the Lawsuit.

      13.   Choice of Law. The enforcement of the Settlement Agreement shall be
governed by and interpreted under the laws of the State of Wisconsin whether or not


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any Party is or may hereafter be a resident of another state. The Parties irrevocably
and exclusively submit to the jurisdiction of the United States District Court for the
Western District of Wisconsin over any dispute arising out of or relating to this
Agreement. If the United States District Court for the Western District of Wisconsin
determines that it lacks jurisdiction to hear any dispute arising under this
agreement, the Parties agree that they will irrevocably and exclusively submit to the
jurisdiction of the Dane County Circuit Court in Dane County, Wisconsin. The Parties
irrevocably waive, to the fullest extent permitted by applicable law, any objection
which the Parties may now or hereafter have to the laying of venue of such dispute
brought in these courts or any defense of inconvenient forum in connection therewith.

      14.    Extension of Time. The Parties may agree upon a reasonable extension
of time for deadlines and dates reflected in the Settlement Agreement, without
further notice to the Court, subject to Court approval as to Court dates.

       15.    No Waivers, Modifications, Amendments. The Settlement Agreement
constitutes the entire agreement of the Parties concerning the subjects contained
herein, and all prior and contemporaneous negotiations and understandings between
the Parties shall be deemed merged into the Settlement Agreement. No waiver,
modification, or amendment of the terms of the Settlement Agreement, whether
purportedly made before or after the Court’s approval of the Settlement Agreement,
shall be valid or binding unless in writing, signed by or on behalf of all Parties, and
then only to the extent set forth in such written waiver, modification, or amendment,
subject to any required Court approval. Any failure by any Party to insist upon the
strict performance by the other Party of any of the provisions of this Settlement
Agreement shall not be deemed a waiver of any of the other provisions of this
Settlement Agreement, and such Party, notwithstanding such failure, shall have the
right thereafter to insist upon the specific performance of any and all of the provisions
of the Settlement Agreement.

       16.    Court Retains Jurisdiction to Enforce Agreement. The Court shall
retain jurisdiction with respect to the implementation and enforcement of the terms
of the Settlement Agreement to the extent permitted by law.

       17.    Agreement to Cooperate. The Parties acknowledge that it is their intent
to consummate this settlement, and they agree to cooperate to the extent necessary
to effectuate and implement all terms and conditions of the Settlement Agreement
and to exercise their best efforts to accomplish the foregoing terms and conditions of
the Settlement Agreement.

      18.    Acknowledgments. Each Plaintiff and Opt-in Plaintiff represents and
agrees that he (a) has carefully read and fully understand all of the provisions of this
Agreement; (b) to the extent desired, has had ample opportunity to consult with
counsel about the terms of this Agreement; (c) understands that this Agreement


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includes a final general release and that he can make no further claims against
Quincy Bioscience or any Releasee, except as otherwise provided herein; and (d) is
knowingly and voluntarily entering into this Agreement.

       19.   Severability. The provisions of the Settlement Agreement shall be
deemed severable, and the invalidity or unenforceability of any one or more of its
provisions shall not affect the validity or enforceability of any of the other provisions.

       20.  Complete Agreement. This Agreement contains the complete agreement
between the Parties with respect to the subject matter hereof and supersedes any
prior agreements or negotiations. This Agreement may be modified only by written
mutual consent of the Parties.

       21.   Counterparts. The Settlement Agreement shall become effective upon
its execution, subject to subsequent Court approval. The Parties may execute the
Settlement Agreement in counterparts, and execution in counterparts shall have the
same force and effect as if the Plaintiff and Defendant had signed the same
instrument. Any signature made and transmitted by facsimile or electronically for
the purpose of executing the Settlement Agreement shall be deemed an original
signature for purposes of the Settlement Agreement and shall be binding upon the
signing Party.

      22.    Corporate Signatories. Each Party executing the Settlement Agreement
warrants that such person has the authority to do so. Any person executing the
Settlement Agreement on behalf of a corporate signatory hereby warrants and
promises for the benefit of all Parties hereto that such person is duly authorized by
such corporation to execute the Settlement Agreement.

      23.   Captions. The captions or headings of the paragraphs in the Settlement
Agreement are inserted for convenience or reference only and shall have no effect
upon the construction or interpretation of any part of the Settlement Agreement.




     The remainder of this page intentionally left blank. Signature page follows.




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JEREMY GUSLOFF


Date: March _____, 2022


DREW HAACK


Date: March _____, 2022


COLE JORDAN


Date: March _____, 2022


QUINCY BIOSCIENCE HOLDING COMPANY, INC.


Date: March _____, 2022 By:
                              Printed Name:
                              Title:



REVIEWED AND APPROVED AS TO FORM:

HAWKS QUINDEL, S.C.
Counsel for Plaintiff

Date: March _____, 2022 By:
                                  Aaron J. Bibb, SBN 1104662


LINDNER & MARSACK, S.C.
Counsel for Defendants

Date: March _____, 2022 By:
                                  Sally A. Piefer, SBN 1023257




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